           Case 1:03-cr-05107-AWI Document 82 Filed 06/21/05 Page 1 of 3


 1   ANTHONY P. CAPOZZI, CSBN 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, CA 93711
 3   Telephone: (559) 221-0200
     Fax: (559) 221-7997
 4   E-mail: capozzilaw@aol.com

 5   Attorney for Defendant,
     REFUGIO SANTANA
 6
 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                     EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9
                                    * * * * *
10
11                                           ) Case No.: CR-F-03-5107 AWI
       UNITED STATES OF AMERICA,             )
12                                           ) STIPULATION FOR CONTINUANCE AND
                  Plaintiff,                 ) PROPOSED ORDER THEREIN
13                                           )
            vs.                              )
14                                           )
       REFUGIO SANTANA,                      )
15                                           )
                  Defendant.                 )
16
17
          IT IS HEREBY STIPULATED between the Defendant, REFUGIO SANTANA,
18
     by and through his attorney of record, Anthony P. Capozzi, and
19
     Plaintiff, by and through Assistant United States Attorney, Dawrence
20
     Rice, that the Hearing now set for June 20, 2005, at 9:00 a.m. be
21
     continued to July 25, 2005 at 9:00 a.m.
22
23
          It is further stipulated by the parties that any delay resulting
24
     from this continuance shall be excluded on the following basis:
25             Title 18, United States Code, Section 3161(h)(1)(A) which
26             states:
27             (h)    The following periods of delay shall be excluded in
28
              Case 1:03-cr-05107-AWI Document 82 Filed 06/21/05 Page 2 of 3


 1
                       computing the time within which any information or an
 2
                       indictment must be filed, or in computing the time
 3
                       within   which   the     trial   of    any    such   offense     must
 4                     commence:
 5                     (1)   Any   period       of   delay    resulting        from    other
 6                           proceedings concerning the defendant, including
 7                           but not limited to –
 8                           (A)   delay      resulting       from     an      proceeding,
 9                                 including any examinations, to determine the
10                                 mental competency or physical capacity of
11                                 the defendant;
12
13                                               Respectfully submitted,

14   Dated:    June 16, 2005

15
                                                        /s/    Anthony      P.        Capozzi
16
                                                 Anthony P. Capozzi,
17                                               Attorney for Defendant,
                                                 Michael Careatti
18
19   Dated:    June 16, 2005

20                                                      /s/         Dawrence          Rice

21                                               Dawrence Rice,
                                                 Assistant U.S. Attorney
22
23
24
25
26
27
28                                          2
              Case 1:03-cr-05107-AWI Document 82 Filed 06/21/05 Page 3 of 3


 1                                       ORDER
 2          IT IS SO ORDERED.    Good cause having been shown, the Hearing set
 3   for June 20, 2005, is vacated and continued to July 25, 2005 at 9:00
 4
     a.m.     Additionally, time shall be excluded by stipulation from the
 5
     parties and pursuant to 18 USC §3161(h)(1)(A).
 6
 7
     IT IS SO ORDERED.
 8
 9   Dated:   June 17, 2005                   /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                          3
